Case 3:20-cr-00249-RS Document 675-17 Filed 06/06/25 Pagelof1

Buy AML Tokens

B Buy AML Tokens
AML Tokens Price (ETH)
Name Email

Distribution Address

YOu are going to buy 10 AML Tokens “or 0.033333 ETH
Address

Make sure to enter a valid AML Token address to receive your AML

Tokens. Do not use a regular Bitcoin address!
You can dowrlaod ard create a wallet instartly by clicking her w Peywith Ancoins >

if you'd like to pay with another cryptocurrency, you'll be able to on

the next page using the ShapeShift.io button. Please send the exact amount above to the Ethereum address or

click the Pay with Altcoins button for more options. Please allow up
O11 have read and accept 1 to 90 minutes to receive a confirmation email.

Note: This window does not have to remain open.

EX3150-001
